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 1
                                 UNITED STATES DISTRICT COURT
 2                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                                  SAN FRANCISCO DIVISION

 4    IN RE: ROUNDUP PRODUCTS                             MDL No. 2741
      LIABILITY LITIGATION                                Case No. 16-md-02741-VC
 5
                                                          Hon. Vince Chhabria
 6
      This document relates to:
      ALL ACTIONS                                         JOINT CASE MANAGEMENT STATEMENT
 7
 8
 9          In advance of the December 13, 2021 Case Management Conference, Plaintiffs’ leadership

10   and Monsanto’s counsel hereby provide the following updates to the Court.
11
         I. Docket Overview
12
            Since the Court entered PTO 246 establishing the inactive docket, the parties have agreed that
13
     2,340 cases, involving 2,361 plaintiffs, can be moved to the inactive docket and administratively
14
15   closed. 1,572 cases remain active in the MDL. On or before January 13, 2022, per PTO 246, the

16   parties will provide an updated list of additional cases that can be moved to the inactive docket.
17      II. Status of Wave 3 Cases
18
            Eight cases remain pending in Wave 3 and briefing is complete:
19
                   Blair v. Monsanto Co., 19-cv-07984
20                 Chapman v. Monsanto Co., 20-cv-01277
21                 Denkins v. Monsanto Co., 20-cv-03301
                   Garza v. Monsanto Co., 20-cv-06988
22                 Koen v. Monsanto Co., 20-cv-03074
23                 Schaffner v. Monsanto Co., 19-cv-07526
                   Solis v. Monsanto Co., 20-cv-07391
24                 Vosper v. Monsanto Co., 19-cv-05525
25
       III. Status of Mendoza v. Monsanto Company
26
            On December 9, 2021, the parties to Yolanda Mendoza v. Monsanto Co., No. 3:16-cv-06046-
27
     VC, a Wave 1 case, notified the Court that the case was in the process of being resolved and should be
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 1   added to the inactive docket. Since then, the Settlement Master noticed the Court that the stay is not
 2   resolved. Plaintiff is now requesting that the case be removed from the inactive docket and remanded
 3
     to the Eastern District of California for further proceedings. Monsanto does not oppose this request.
 4
       IV. Update on Status of Motions to Dismiss
 5
            Monsanto filed a motion to dismiss for failure to submit any PFS for five Plaintiffs on
 6
 7   November 29, 2021. ECF No. 14245. As of the date of this filing, one plaintiff has contacted Monsanto

 8   to provide a PFS. The remaining four cases from Monsanto’s November 29, 2021 motion should be
 9
     dismissed for failure to submit a PFS:
10
               Virginia Brown v. Monsanto Co., 3:21-cv-04930
11
12             Duane Hutchinson v. Monsanto Co., 3:21-cv-04638

13             Lauren Montgomery v. Monsanto Co., 3:21-cv-02547
14
               Karis Yenzer (Estate of Douglas W. Yenzer) v. Monsanto Co., 3:21-cv-04639
15
            In addition, on November 2, 2021, the Court granted Monsanto’s Motion to Dismiss For Failure
16
17   to Submit a PFS and entered an Order (ECF No. 14133) dismissing cases filed by Carrie Dula,

18   Florentina Guzman, J.P. Stewart, Brandi Hodgson Troxel, Susan Voke, and Frieda Giannone. Those
19
     individuals were the subject of Monsanto’s original motion. But in Monsanto’s reply, it clarified that
20
     its motion applies to only four of those individuals—Dula, Guzman, Voke, and Giannone, as well as
21
22   an additional individual, Nina Stewart. ECF No. 13928. Monsanto respectfully submits that the cases

23   for J.P. Stewart (3:20-cv-02415) and Brandi Troxel (3:21-cv-01215) should therefore be reopened, and
24   Nina Stewart’s case (3:20-cv-00643) should be closed.
25
       V. Substitution of Counsel
26
            The Miller Firm has already informed the Court that Co-Lead Counsel Michael J. Miller, Esq.
27
28   passed away unexpectedly on November 24. Remaining Co-Lead Counsel and The Miller Firm request



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 1   that David Dickens of The Miller Firm be substituted in place of Michael Miller as Co-Lead Counsel.
 2   A formal Motion requesting this substitution will be filed.
 3
     DATED: December 10, 2021                     Respectfully submitted.
 4
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27                                                MONSANTO COMPANY

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 1                                      CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on this 10th day of December, 2021, a copy of the foregoing was filed
 3
     with the Clerk of the Court through the CM/ECF system which sent notice of the filling to all appearing
 4
     parties of record.
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                                                   By: /s/ Brian L. Stekloff
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